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UNITED sTATEs DISTRICT CoURT
FoR 'rH:E DISTRICT oF CoLUMBIA

 

In the Matter ofthe Arbz`lration between.'

EOlR HOLDINGS LLC
600 Galleria Parkway, #400
Atlanta, GA 30339,

~ Petitioner,

and 1:09-cv~01707 RWR
TECHNEST HGLDINGS, ]NC.
10411 Motor City Driye, #650
Bethesda, l\/ID 20817,

Respondent.

RESPONDENT TECHNEST HOLD]NGS, INC.’S l\/[EMORANDUM OF POINTS
AND AUTHGRITIES lN OPPOSITION TO EOIR HGLDINGS LLC’S PETITION
TO VACATE ARBITRATION AWARD

Respondent`Technest Holdings, Inc. respectfully submits this Memorandum of
Points and Authorities in Opposition to the Petition of EOIR Holdings LLC to Vacate
Arbitration Award, filed on September §, 2009 (Docket. No. l), and served on
Respondent on September lO, 2009, pursuant to Local Civil Rule 7(b).1
PRELIMINARY STATEMENT

Having lost its case via a unanimous award issued by an eminently qualified

three-arbitrator panel, Petitioner EOIR Holdings LLC (“Holdings” or “Petitioner”) now

 

1 Respondent Technest takes exception to Petitioner’s untimely and self~styled “Superseding” Petition to
Vacate the Arbitration Award (Docket. No. ll), which it filed on Sunday, September 20, 2009, at 7:30 PM,
the evening before Respondent’s opposition to the originally filed petition was due. The superseding
petition Was submitted without leave of Couit and Without consultation with or even notice to Respondent.
To confuse matters further, Petitioner has not withdrawn the original petition Accordingly, the
“Superseding” Petition should be disregarded unless and until Petitioner obtains leave of Court to file it and
addresses the resulting prejudice to Respondent and to the orderly administration of justice that has resulted
from Petitioner now having submitted three different petitions to date.

 

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seeks to re-litigate precisely the same failed arguments that led to the award. Petitioner
submitted itself to the jurisdiction of a duly appointed panel of arbitrators pursuant to an
integrated Stock Purchase Agreement (“SPA” or “Agreement”) specifying “final and
binding arbitration” as the applicable dispute resolution mechanism If the contract
between the parties is to be honored, as Petitioner so fervently demands, Petitioner should
not be permitted to now back out of its promise to be bound by the arbitration just
because it lost.

Petitioner and Respondent Technest are parties to a fully integrated Stock
Purchase Agreement whereby Technest agreed to sell the stock of EOIR Technologies,
' lnc. (“EGIR”) to Holdings on December 31, 2007. The transaction closed and Petitioner
has enjoyed all the benefits of ownership over the last 21 months, including the award of
alucrative government contract and record~setting profits. Nevertheless, Petitioner
Holdings refused to pay Technest two-thirds of the purchase price as provided in the
SPA, offering instead an endless litany of ever-changing excuses. As a result, Technest
demanded the dispute be arbitrated in accordance with the Agreement. There is no
dispute that arbitration before the American Arbitration Association (“AAA”) was the
chosen mode of dispute resolution

The arbitration proceedings were professional and thorough by any measure The
parties carefully selected a highly qualified panel of arbitrators with expertise in
government contracts and corporate transactions, the two subject matters lying at the
heart of the controversy. There is no dispute over the qualifications of the arbitrators,
one of which' was chosen by the Petitioner, who also had input on the appointment of the

third. Substantial discovery was conducted, even though discovery is not “of righ ” in

 

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arbitration proceedings. The parties presented their cases to the arbitrators over seven
days of hearing in which both sides had an unbridled opportunity to submit evidence and
call witnesses The record generated in the arbitration proceeding was extensive,
consisting of approximately 2000 pages of hearing transcript, 2600 pages of deposition
transcripts, and 400 exhibits lt is not possible to argue that any evidence germane to the
' issues was not considered

On August 21, 2009, the arbitration panel returned a unanimous reasoned award
in favor of Technest. As Teclinest claimed from the beginning of the proceedings until
the end, the three conditions of payment specified in the Sl’A were fully satisfied and it
Was so proven. The twelve-page award leaves no doubt that the arbitration panel
evaluated the evidence presented in light of the contract requirements, element by
element, with reference to the exact same conditions that Petitioner Holdings specified
repeatedly throughout the hearing2 Even a cursory comparison of the operative contract
language and the award demonstrates that the arbitration panel’s award drew its
substance directly from the language of the Agreement between the parties and did not
disregard or alter any written provisions Nothing more was required.

Under the law of this District, the scope of review of an arbitration award is “the
narrowest known in the law.” A motion to vacate is not an opportunity to re~litigate
issues, which is all that Petitioner seeks to _do. Every single substantive argument set

forth in the petition to vacate was made, considered, and unanimously rejected by the

 

2 During its opening statement, Petitioner’s counsel presented a demonstrative exhibit specifying the
contract language governing the conditions of payment The demonstrative exhibit was subsequently
identified as Joint Exhibit 377 (“JX 377”) at Respondent’s request and admitted into evidence. Petitioner’s
counsel repeatedly described the language of JX 377 as the only conditions to payment See, e,g., Tr. at
52:20-53:13 (“I want to tell you that this case really involves just a very simple straightforward analysis of
a simple issue, and that is Were the three conditions precedent to payment of the stock from a contingent
purchase price met.”); see also 54:1-15; 759:6-76l:l; 849:5*850:17; 1340:18-1341:12; 1931:6~15.

 

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arbitration panel. lt would be contrary to the strong policy favoring arbitration to invade
the province of the arbitrators with the sweeping review that Petitioner proposes, replete
with arguments that go to the weight of the evidence and are legally insufficient on their
face (e.g., that the arbitrators did not adopt the testimony of Petitioner’s paid expert as to l
the meaning of terms in the unambiguous integrated contract (Petitioner EOIR Holdings
LLC’s Memorandum in Support of lts Petition to Vacate Arbitration Award (“Petition”)
at 12-13)).

Likewise, Petitioner’s argument that a $23 million award should be vacated
because an allegedly “privileged” corporate valuation was seen by the Panel is not
worthy of serious consideration The arbitration award unequivocally states that the
corporate valuation did not serve as a basis for the award ln choosing not to put weight
on the valuation, the arbitrators did exactly what Petitioner’s counsel asked them to do in
_ his closing argument Petitioner cannot overcome the Panel’s unanimous declaration that
they did not give weight to the valuation, which in any case was not privileged

At bottom, Holdings’ Petition should be seen for what it` is, just another tactic to
avoid its obligation to pay for the valuable company that it received As the D.C. Circuit
has recognized, “public policy favors leaving arbitration awards untouched.” That policy
should be honored here.

n STATEMENT OF FACTS

A. Events Leading To The Dispute

On September 10, 2007, after extensive due diligence by the parties, Technest

entered into the SPA3 with Holdings pursuant to which Technest agreed to sell the stock

 

3 rha sPA is attached to Haidinga’ ramon as Exhibit i.

 

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of EOIR, to Holdings for a total purchase price of $34 million in two payments The first
payment of $ll million was payable at the closing on December 31, 2007. SPA, § 2.1.
The second payment (called the “Contingent Purchase Price”) of approximately $23
million was contingent and payable upon the award of a particular government contract
(the “folloW-on contract”) to EOIR if three conditions listed in the SPA were met. Id.
Exhibit A to the SPA contains the operative language lt reads:

The Contingent Purchase Price will be payable only upon. . .the award to
Company of the follow-on [] Contract and expiration of all protest periods
related thereto and resolution of any protests in favor of [EOIR], if such
award occurs on or prior to December 3l, 2009, on substantially the
economic terms and conditions set forth in [EOlR]’s final price proposal,
which price proposal shall be prepared in accordance with Section 3 of
this Exhibit A and with the past practice of [EOIR] and which proposal, if ‘
successful, would not, or could not reasonably be expected to, change the
financial prospects or performance of [EOIR]. . ..

SPA, Ex. A § 2(a). There is no dispute as to the operative language because Technest '
adopted Petitioner’s demonstrative exhibit containing what Petitioner’s own counsel and
expert asserted were the only conditions to payment of the $23 million second
installment See Technest’s Post~Hearing Brief (attached hereto as Exhibit A) at 8 n.5
(“For purposes of analyzing whether the Contingent Purchase Price conditions were
satisfied, Claimant adopts JX 377, a demonstrative exhibit that Respondent [Holdings]
prepared which contains the pertinent contract provisions as stated in [the SPA].”); see
also Arbitration Hearing Transcript (“Tr.”)4 at 52120-54:15; 6811~2 (Petitioner’s counsel
` referenced .lX 377 in his opening when he said there were “Three conditions that have to
be met that weren’t met.”); 1706:13-19 (l\/lr. Pachter testified that he reviewed “portions
[of the SPA] that [he] thought were relevant to [his] task, which was the conditions - the

three conditions that are outlined in [his] estimate. . ..”).

 

4 Pages from the Arbitration Hearing 'l`ranscript cited in this opposition are attached hereto as Exhibit B.

 

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On November 24, 2007, EOIR submitted the “final price proposal” in solicitation
of an award of the “follow-on contract’.’ referenced in-Joint Exhibit (“JX”) 377. See
Award at 2.5 On August 4, 2008, eight months after Holdings took ownership of EOlR,
EOlR was awarded the follow-on contract in accordance with the conditions to payment
of the Contingent Purchase Price listed in the °SPA. Id. EOlR signed and accepted the
award within two days and held a party to celebrate it, complete with commemorative
items for its guests See Technest’s Prehearing Statement at 3.6 On August 21, 2008, the
contingent portion of the purchase price of $22,948,333.33 became due and payable ]d.
On August 26, 2008, Holdings informed Technest that it would not pay the Contingent
Purchase Price See Technest’s Post-l-learing Brief at 34. At the same time, Petitioner
continued to enjoy all the fruits of ownership of a subsidiary worth $34 million, while
only paying $l l million.

On September 24, 2008, Technest filed its Demand for Arbitration with the AAA
pursuant to the terms of the Agreement. Holdings did not challenge or object to
arbitration as the proper mechanism for resolution of the dispute

B. Selection Of The Arbitration Panel

The parties jointly requested nom the AAA a list of potential arbitrators with
expertise in “[g] overnment contracts, defense contracts, mergers and acquisitions and
earn out provisions.” See Correspondence from AAA Case l\/lanager C. Scott to the
parties, dated October 7, 2008 (attached hereto as Exhibit C) at p. 2. ln response, the

AAA provided resumes of numerous candidates meeting the specified qualifications ln

 

5 The arbitration panel’s Pinal Award (“Award”) issued on August Zl, 2009 is attached to Holdings’
Petition as Exhibit 6.

6 Technest’s Prehearing Statement is attached to Holdings’ Petition as Exhibit 8.

 

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accordance with the SPA, each party chose one arbitrator nom the AAA list and then the
two party-chosen arbitrators jointly selected the third arbitrator (together “the Panel”).
See SPA, Ex. A § 6(d) (“The arbitration shall be heard by a panel of three (3) arbitrators
Each party shall select one arbitrator. . ..The two arbitrators shall then select the third
arbitrator within fifteen (15) days after the second arbitrator is chosen.”). v

There is no question that the arbitrators had more than the requisite qualifications
See Arbitrator Resumes (attached as Exhibit D). Amongst the three Panel members, the
arbitrators accounted for over 50 years of experience in the government contracts field
Each of the arbitrators had considerable prior commercial arbitration experience ln sum,

neither the Panel’s qualifications nor the Panel’s neutrality are in question

C. Pre-Hearing And Hearing Procedures

The parties engaged in substantial discovery over a period of several months that
resulted in the production of over 100,000 pages of documents, 13 depositions and 4
expert reports Ultimately, a hearing was held before the Panel on lune 22-30, 2009, in
Washington, D.C. The parties prepared a set of j oint exhibits for the hearing of nearly
400 documents; nine witnesses were called resulting in a hearing transcript nearly 2000
transcript pages in length. Petitioner was given every opportunity to call as many
witnesses, present as many exhibits, and make every argument it wished

To be kind, there were massive contradictions in the evidence that Petitioner
presented to the Panel. For example, Petitioner called a contract law expert named lohn
Pachter, who testified that the three conditions of payment set forth in the SPA were

“easy to understand” and “not ambiguous.” Tr. at 1803:9-1805:20. Petitioner’s contract

 

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law expert further testified that the contract was integrated with legal consequences as

follows:

Q: l\/Iaybe l asked that question imprecisely. When there's an integration
clause in a contract like Joint Exhibit 101, that means that oral promises,
oral presentations and oral agreements that occurred before the contract
was signed are not legally enforceable

A: That's the normal interpretation
Q: That's the law, right? That's basic contract law, isn't it?

A: Yes.

Tr. at 1815113-22. Notwithstanding the testimony of Petitioner’s “contract law expert,”
Petitioner presented a different expert to offer his opinion about the meaning of the
supposedly unambiguous contract language See, e.g., Tr. at 1344:5-21 (Petitioner’s
expert Michael Smigocki testified that “economic terms and conditions” really means the
“revenue, the cost and the profit related to the contract and related to the price
proposal.”). Even worse, during the cross-examination of Petitioner’s experts, it became
clear that there was a battle between Petitioner’s own experts as to the proper
interpretation of the third condition of payment Tr. at 1817:14-1818:4.7

Testimony from Petitioner’s fact witnesses fared no better. Petitioner’s lead
witness testified at length about his wholly unsupported belief that EOlR, while still
owned by Technest, had “gamed” the final price proposal Tr. at 923 :22-924:4. But
Petitioner’s second witness -- who actually managed the price proposal process -- put that

fanciful and self-serving testimony to rest when she testified that the final price proposal

 

7 The contradictory testimony prompted Technest’s counsel to ask one of Petitioner’s experts “Who’s
right?” in response to which Petitioner’s contract law expert proclaimed “I believe l am. . . .” Tr. at 1818:3-
4. ~ ‘ -

 

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was not “gamed” but instead was “honest, legitimate, and the best possible effort” and
was fully expected to be profitable in the future Tr. at 1235:11-1236:4; 1236:16-1237:2.

lronically, Petitioner now seeks to take issue with testimony of its own hearing witness

D. 'I`he Award In Technest’s Favor

Following the hearing, the Panel ruled and issued a unanimous and reasoned
written decision and arbitration award on August 21, 2009 (the “Award”). The Panel
determined that each of the three conditions to payment of the Contingent Purchase Price
had been met and that Petitioner had breached the Agreement. Award at 9. Accordingly,
the Panel awarded Technest a total of $23,778,402.83 plus interest nom the date of the
Award until paid in full. Id. at 12. vAlthough Petitioner agreed in the SPA that “[a]ny
award by the arbitrators shall be final and binding on the paities” it has yet to pay
Technest the Award See SPA, § 6(f).

S'I`ANDARD OF REVIEW
Petitioner has downplayed the applicable standard of review governing its

Petition. l udicial review of arbitration awards is extremely limited See Major League
Basel)all Players Ass ’n v. Garvey, 532 U.S. 504, 509-10 (2001);1nt’l Thunderbircl
Gaming Corp. v. Unz'tea’ Mex. States, 473. F. Supp. 2d 80, 83 (D.D.C. 2007). This
District has characterized the scope of review of an arbitration award as ‘°the narrowest
known in the law.” S. Pac. Transp'. Co. v. Unilecl Transp. Unz'on, 789 F. Supp. 9, 13
(D.D.C. 1992) (internal citations omitted).8 The Federal Arbitration Act (“FAA\”)

 

8 lt is telling that in most of the cases that Petitioner cites, the court upheld the arbitration award and in
doing so rejected the same species of argument that Petitioner advances See, e.g., Teamsters Local Union
No. 61 v. Unz`ted Parcel Se)'v., Inc., 272 F.3d 600 (D.C. Cir. 2001) (upholding arbitration award); Fea’erated
Dep ’t Stores, lnc. v. J. V.B. lndus., Inc., 894 F.2d 862, 866 (6th Cir. 1990) (holding that “claim amount[ed]
merely to allegations of errors in interpretation.”); United Papel'workers Int’l Union v. Misco, Inc., 484
U.S. 29, 39 (1987) (refusing to overturn award when moving party alleged “only improvident, even silly,
factfinding”); U.S. Postal Sel'v. v. Am. Posz‘al Workers Union, 553 F.3d 686, 693 (D.C. Cir. 2009); United
Steelwo)'kers of Am. v. Enterprz`se Wheel & Cal' Corp., 363 U.S. 593 (1960) .

 

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provides the exclusive grounds for vacating an arbitration award See Hall St. Assoc.,
L.L.C. v. Matlel, Inc., 128 S. Ct. 1396, 1403 (2008); Regnery Publ ’g, Inc. v. Mz"nz'ter, 601
F. Supp. 2d 192, 194 (D.D.C. 2009).9 Under the FAA, a court may vacate an award
under only four narrow circumstances which include arbitrator bias, fraud, or misconduct
or Where the arbitrators “exceeded their powers, or so imperfectly executed them that a
mutual, final, and definite award upon the subject matter submitted was not made.” See 9
U.S.C. § 10 (2009).

Significantly, errors of fact and misinterpretations of law do not warrant vacation
of an arbitration award See Kurke v. Oscar Gruss & Son, Inc. , No. 04-0870 (Rl\/IC),
U.S. Dist. LEXlS 9987, at *8 (D.D_.C. Jan. 19, 2005). Additionally, arbitrators are not
required to explain the basis for their awards See Lessin v. Merrill Lynch, Pz`erce,
`Fennel' & Smith, Inc., No. 5-171 (RMC), 2006 U.S. Dist. LEXIS 14967, at *16 (D.D.C.
l\/Iar. 31, 2006) (citing Wz`lko v. Swan, 346 U.S. 427, 436 (1953)); Daferco Int’l Steel
T)"acling v. T. Klaveness Shipping A/S, 333 F.3d 383, 390 (2d Cir. 2003) (court is bound
to confirm award even if the “explanation for an award is deficient or non-existen ”).
Accordingly, the Supreme Court has long recognized that, when reviewing an arbitration
award, “[c]ourts. . .have no business weighing the merits . . [or] considering whether there
is equity in a particular claim.” United Steelworkers of Am. v. Am. Mfg. Co., 363 U.S.
564, 568 (1960); see also Major League Baseball Players Ass ’n, 532 U.S. at 510 (no
investigation into merits even if arbitrators deviate from proper procedure to the point of
“affirmative misconduct”).

The tight restrictions on judicial review of arbitration awards reflects a “national
policy” in favor of arbitration agreements See Hall St., 128 S. Ct. at 1402. The primary
purpose of this policy is the need for efficiency and finality. See id. at 1405 (1imited

 

9 Some courts have recognized “manifest disregard of the law” as a fifth ground for vacating an award, but
it is doubtful that this basis for vacatur exists any longer. See discussion infra at Part ll.

10

 

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review necessary to “maintain arbitration’s essential virtue of resolving disputes
straightaway”). Another fundamental purpose is to enforce private agreements See
Dean Wz`lfer Reynolds, Inc. v. By)'a’, 470 U.S. 213, 219-21 (1985) (“...[The Supreme
Court] rigorously enforce[s] agreements to arbitrate”). ln applying limited review to
arbitration awards courts in this jurisdiction have long recognized these policies See,
e.g., Regnery, 601 F. Supp. 2d at 194 (quoting Hall Sl., 128 S. Ct. at 1405); LaPraole v.
` Kz`a'a’e)', Peaboa'y &.Co., 94 F. Supp. 2d 2, 4 (D.D.C. 2000) (“[P]ublic policy favors
leaving arbitration awards untouched.”), a ’cl, 246 F.3d (D.C. Cir. 2001).
ARGUMENT

Like its evidence and arguments at the arbitration hearing, Petitioner’s pleas for
vacatur do not withstand scrutiny. Petitioner first complains that the Panel exceeded its
power by “ignoring unambiguous language and altering key provisions” and “oinitting
terms” from the Agreement between the parties Petition at 10, 13. Upon inspection,
however, Petitioner’s actual complaint is that the Panel did not read extra provisions into
the Agreement that were nowhere written in the Agreement Ial. at 12-14. The Panel
rightly interpreted the Agreement as written, giving the SPA the plain meaning of its
words, and was therefore well within the powers accorded to it by the Agreement in
doing so. See SPA, Ex. A § 6(g) (“The arbitrators shall be limited to interpreting []the
applicable provisions of the Agreement”).10

Second, Petitioner complains that the Award is in manifest disregard of the law
because the Panel admitted into evidence a document that Petitioner maintains is
privileged However, regardless of whether the document was privileged, unprivileged,
or otherwise, it had no bearing on the Panel’s Award. Award at 11 (“while interesting”~

the document has “no bearing” on whether the conditions for payment were met under

 

10 ln further opposition to the Petition, Technest herein incorporates by reference its Post-Hearing Brief
and the evidence cited therein

11

 

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the Agreement). Petitioner has failed to explain how a document that had “no bearing”
on the Panel’s Award could possibly evidence a manifest disregard for the law such that
the Award should be vacated Accordingly, as discussed in more detail below, there

exists no basis to vacate the Award

PETITONER’S CONTRACT [NTERPRETATION ARGUMENTS
ARE INSUFFIC[EN'I` AS A MATTER OF LAW AND OTHERWISE
UNSUPPORTABLE

lf an arbitrator’s award “draw[s] its essence nom the implementing agreement,”
courts must give the arbitrator’s interpretation of an agreement “extreme deference.”
Bhd. anaim. of Way Empzayaas v. 1. C. C., 920 F.zd 40, 45 '(D.c. cir. 1990) (imamai
quotations omitted). Applying this standard, the court in Karke held that “[i]n the
absence of an arbitrator’s manifest disregard of the law, a court should defer to-his or her
reading of a private contract, even if that reading is implausible.” U.S. Dist. LEXIS 9987,
at *14 (internal citations omitted) (emphasis added); see also E. Assoc. Coal Corp. v.
United Mine Workers of Am. Dist., 531 U.S. 57, 62 (2000) (even if a court believes that
an arbitrator has committed serious error, the court should not vacate the award if the
arbitrator “is even arguably construing or applying the contract and acting within the
scope of his authority”) (internal quotations omitted).

lt is undisputed that the provisions of the SPA regarding conditions to payment of
the Contingent Purchase Price are clear and unambiguous lndeed Petitioner’s own
expert on contract law, lohn Pachter, testified that the three conditions are not ambiguous
and not difficult to understand Tr. at 1803 :9-1804:20. Given the unambiguous terms,
the Panel made a straightforward interpretation of the conditions well within the bounds
' of their authority ash arbitrators The language of the Panel’s Award leaves no doubt that

the Award squarely “draw[s] its essence” from the Agreement I. C.‘C., 920 F.2d at 45.

12

 

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A. The Panel Acted Within Its Power In Holding The First
Condition To Payment Was Met

Petitioner’s allegation that the Panel exceeded its power by “ignoring
unambiguous language and altering key provisions” is unfounded Petitioner complains
that the Panel did not interpret the first condition that the follow-on contract be “on
substantially the economic terms and conditions set forth in [EOIR’s] final price
proposal” to include an unwritten requirement that the “revenues, costs and profits” upon
which the final price proposal was based also be reflected in the follow-on contractll
Petition at 11-.12; see SPA, Ex. A § Z(a). Thus, Petitioner’s true complaint is not that the
Panel ignored or altered contract terms but that it refused to add terms The Panel,
implementing basic principles of contract interpretation addressed this issue plainly in
the Award,. holding that “[w]hile the rates in the final price proposal may have been
premised or predicated on certain assumptions . .these assumptions were not set forth in
the final price proposal.” Award at 5 (emphasis added). That conclusion was based on
extensive evidence elicited at the hearing Petitioner’s lead witness and experts
repeatedly attempted to espouse a long list of additional “variables” as contract
requirements only to be proven wrong on cross-exarrn`nation.12 As the unwritten
variables were not set forth in the final price proposal (or the SPA), there can be no
invisible requirement that the follow-on contract reflect those unwritten assumptions and
the Panel so found See Award at 5.

Additionally, Petitioner is incorrect when it alleges that the Panel substituted the

term “rates” for “substantially the economic terms and conditions.” Petition at 11.

 

11 Petitioner also alleges that it “presented_uncontradicted expert and fact witness testimony and evidence”
on this point Petition at ll. Technest submits that it fully and successfully contradicted Petitioner’s
evidence through the cross-examination testimony of Petitioner’s witnesses John Pachter and Jason Rigoli
who both agreed that regardless of whether Petitioner had certain “expectations” - such as what would be
contained in the price proposal and must be reflected in the follow-on contract to meet the first condition to
payment of the Contingent Purchase Price ~ if those “expectations” were not written into the SPA, then they
will not be given effect See Tr. 899:14-20; 1815:13-22.

12 See Technest’s Post-Hearing Brief at 10-12.

13

 

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Rather, the Panel used the fact of the incorporation of the rates as evidence that the
follow-on contract was on Substantially the economic terms and conditions as the price
proposal. Award at 4 (“ln pertinent part, the Government solicitation for the follow-on []
contract required each offeror to identify. . .loaded labor rates . ..The follow-on award
explicitly incorporated EOlR’s proposal rates.), and at 5 (“EGIR’s_rates were set forth in
the final price proposal, and were specifically incorporated into the award.”).

Even more conclusive, the follow-on contract incorporated not just the labor rates
but the entire final price proposal by reference and therefore the Panel was well
supported in holding that the follow-on contract was awarded “on substantially the
economic terms and conditions set forth in [the] final price proposal.” That the award
incorporated all terms and conditions in the “final price proposal” is confirmed by the

language of the award,13 by questions from the Panel Chair to Petitioner’s lead witness,l"r

 

13 The follow-on contract explicitly incorporates the final price proposal by reference See follow-on
contract (attached hereto as Exhibit E) at 2. (“EOIR’s proposed estimates by contract year are hereby
incorporated into this contract as stated and as described in the referenced proposal;” “EOIR’s proposed
labor and G&A rates for all contract years and all team members are hereby incorporated in their
entirety. ...;” “EOIR’s Management Plan is hereby incorporated into this contract . . .”).

14 Chairman Doyle asked just what the award incorporates7 and lason Rigoli, Chief Operating Ofiicer of
EOIR, testified as follows:

Q: (Chairman Doyle): And you were referred to Section A, part 1C, that says EOIR‘s
proposed_labor and G&A rates for all contract years and all team members are
incorporated?

* =l= *

A: Yes.

Q: (Chairman Doyle): Okay. Right above that, B says EOlR's proposed estimates by
contract year are hereby incorporated into this contract lust a point of clarification what
estimates are being referred to?

A: They are looking at the -- to be frank with you, I‘m not 100 percent sure. l can give
you my opinion, Which is l think they are looking at -- they're incorporating the actual
hourly labor rates, and what they're saying is if this level of effort were to be fully
awarded to you all, we would expect the annual dollar amounts to equal what you have
totaled up.

Q: (Chairman Doyle): 'l`hanks.

Q: (l\/lr. Zarlenga): Which would be $454 million, right, Mr. Rigoli?

14

 

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and by expert testimony in the record.15 There is no merit whatsoever'to Petitioner’s
argument, which was also made repeatedly during the arbitration (Tr. at 1187:6~1190:5;
1980:17-1982:15; 1344:5-1346:18), and correctly rejected Such a clear cut evaluation of
evidence by neutral arbitrators with heaW expertise in the subject matter was well within
the Panel’s power to make. See LaPrade, 94 F. Supp. 2d at 4 (as long as some justifiable
ground or “colorable support for the award” can be inferred from the facts of the case, an
arbitration award should stand).

Remarkably, Petitioner also alleges that the Panel exceeded its authority by
ignoring the opinion of one of its expert witnesses, l\/fichael Smigocki. Petition at 12.
This argument is doubly flawed. First, the Panel as the finder of fact is free to disregard
any expert’s testimony - Mr. Smigocki’s included See sz`th v. Haderz, 872 F. Supp.
1040, 1054 (D.D.C. 1994) (“When faced with conflicting expert testimony, the trial court
may credit one expert over the other or even disregard both in rendering its judgment.”)
(quoting Rock Creek Plaza Woodner Lz‘d. P ’Shz'p v. District of Columbia, 466 A.Zd 857,
859 (D.C. 1983)), a]Y’d, 69 F.3d 606 (D.C. Cir. 1985); McReynolds v. Soa'exho Marrz`ott
Servs., 349 F. Supp. 2d l, 13 (D.D.C. 2004). Presented with Technest’s contrary
position, the Panel was free to credit one position over the other or even disregard both.
As such, the Panel did not exceed its authority when it chose to interpret the SPA

differently than Petitioner’s paid expert.

 

A: Right....
Tr. at 1021119-22, 1022:5-l023:l.

15 Technest expert Kevin Carroll testified that EOIR’s entire price proposal was incorporated into the
follow-on contract Tr. at 394:18 ~ 395:7. Therefore, the first condition was met - not because “rates”
equals “economic terms and conditions” but because the first condition requires that the follow-on contract
be on “substantially the economic terms and conditions set forth in [EOIR]’s final price proposal.” Since
the entire price proposal was incorporated into the follow-on contract, there can be no doubt that everything
set forth in the price proposal was also contained in the follow-on contract This obviates the need to parse
which parts of the price proposal represent the “economic terms and conditions” because all the terms and
conditions from the price proposal were incorporated 4

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Second, Petitioner’s own contract law expert testified that the Contingent
Purchase Price obligations were clear and unambiguous and contained within an
integrated agreement Therefore, under the applicable Delaware law,16 extrinsic evidence
of the contract’s meaning is not admissible See Coml'z'e v. Enterasys Networks, lnc. , 837
A.Zd l, 13 (Del. Ch. 2003); Ditlrz`ck v. Chalfant, 948 A.Zd 400, 406 (Del. Ch. 2007).
Petitioner’s contract law expert agreed with these legal principles and their implications
Tr. at 1815: 13-22. Given the applicable law, the Panel could not possibly have erred by
failing to consider the expert’s testimony, or any other testimony, on what the contract
language “rneans.”

B. The Panel Acted Within Its Power In Holding The Third

Condition To Payment Was Met

Petitioner alleges that the Panel did not interpret the third condition of payment
correctly because it failed to interpret “financial prospects or performance” to include not
only current performance but also “EOlR’s ability to grow, increase labor rates, and
relatedly, increase profits in the years to come.” Petition at 13-14. Again, Petitioner
seeks to engraft considerable additional requirements to the SPA that were not explicitly
written into the Agreement And again, the Panel addressed this issue and rejected
Petitioner’s argument in the Award utilizing basic principles of contract interpretation
and by reference to the operative contract language

l\/fore specifically, the Panel analyzed the time at which compliance with the third
condition (requir_ing-that the final price ~proposal, “ifsuccessful, would not, or could not
reasonably be expected to, change the financial prospects or performance of [EOIR]”)
should be assessed and concluded that the phrase “proposal, if successful” requires that it

be measured “before it is known whether or not it is ‘successful,’ but assuming it will

 

16 The Stock Purchase Agreement provided that Delaware law applied SPA § 21 (“This agreement is to
be construed and governed by the Laws of the State of Delaware (without giving effect to principles of
conflicts of laws”).” Petitioner agreed See Holdings’ Post-Hearing Brief, attached to its Petition as
Exhibit 2, at 9 n.6.

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be.” Award at 8. The Panel continued, “[i]n any event, the third condition does not
involve making an assessment of the financial prospects or performance of EOIR based
on information which only becomes available after award.” Id. at 8. Thus, the Panel’s
award “drew its essence” from the Agreement, (I. C.C., 920 F.Zd at 45) and is entitled to
deference (Kurke, U.S. Dist. LEXIS 9987, at *4).

As with its complaint about the interpretation of the first condition, Petitioner also
complains that the Panel exceeded its authority by not crediting its expert’s testirnony.
Petitioner’s expert l\/fichael Smigocki opined in contradictory testimony that
measurement of the third condition should take place at the time of proposal, but that
post~award profitability should also be taken into account. Tr. at 1672112-22; 1673:20-
1674:3.17 ln an effort to hedge its bets, Petitioner itself introduced evidence of the post-

award financial performance of EOIR. See Tr. at 1422:22-1423):10;18 Report of l\/lichael

 

17 ARBITRATOR RUBINO: So are you suggesting a point in time that We are to then say

has EOIR met the contingent requirement or -- well, that's my question. At what point in
time are you suggesting that the panel sort of draw that line?

MR. SMIGOCKI: It's really at the proposal stage there. At the proposal stage, you can
see that there is going to be -- no matter what happens going forward, there is going to be
a change in the overall profitability of the performance under this contract

Tr. at 1672:12-22.

ARBITRATOR KINOSKY: So you're saying that the snapshot in response to Mr.
Rubino‘s question is you look at it at the proposal stage and it's not relevant at the
performance stage, the profitability analysis?

l\/IR. SMIGOCKI: Well, the award of this is relevant because you've got a couple factors
that occurred at award.

Tr. at 1673 :20-1674:3.

18 HOLDINGS’ COUNSEL: And what was your goal in looking additionally at the contract after it's
` been awarded?

MR. Sl\/IIGOCKI: Well, when the contract was awarded and with the program ceiling going in
there, as well as all the assumptions that were kind of built into it, I wanted to try to gauge what
was reality against those assumptions So, in other words, what was occurring from the contract
award up until my most recent information ..

Tr. at 1422:22 -1423:10.

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Smigocki (attached to l-loldings’ Petition as Exhibit 7) at 8, 10-11. l-lowever, as
discussed above, EOIR’s financial performance after the award was held not germane to
satisfaction of the conditions as written. Under the applicable law, the Panel was not
required to credit any expert’s opinion, as cited above.

Remarkably, Petitioner states that its evidence on this topic was “unchallenged.”
Petition at 14. lt is difficult to believe that Petitioner failed to recall that its second expert
contradicted its first expert on this very point. The contradiction led to the following
exchange between 'l`echnest’s counsel and Petitioner’s expert, Mr. Pachter, at the

arbitration hearing:

Q: But at the barest minimum, you would agree, then, that you certainly
wouldn't look at the profitability after the award?

A: l think the award date is the governing date, yes.

Q: So l\/lr. Smigocki ~~ and we could all read his testimony -- l pretty
clearly remember he said time of the proposal ~~

A: Yes. l remember that, yeah.

Q: ~- and you say time of the award?
A: Correct.

Q: Who's right?

A: l believe l am....

Tr. at 1817:14-1818:4. Petitioner should not be heard to complain about an Award that is
consistent with one of its own expert’s testimony, even if Petitioner’s other expert
disagrees

Petitioner’s complaint that the Panel paid undue credit to the “deposition
testimony of an EOIR en'gineer” instead of Petitioner’s paid expert regarding the third
condition to payment is also unavailing See Petition at 14~15. That “EOIR engineer” is

Colonel Larry Bramlette, the person responsible for determining the rates in the final

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price proposal, and the person with the most price proposal experience of any witness
whose testimony was presented Col. Bramlette conducted a “robust” profitability
analysis See JX 176 (attached hereto as Exhibit F) at EOIR0028734~35 (“l have
completed the evaluation of our new rates verses [sic.] our costs of personnel in
comparison to our present rates against the const of personnel. . . .Even though, on
,average, our new rates are lower than our present ones, we have improved our

margin. . . .”); Larry Bramlette Deposition (excerpts attached hereto as Exhibit G) at

193 : 1 5-1 6. Ultimately, he concluded that EOlR would be in a better position under the
follow-on contract than the previous government contract See also Tr. at 1820:11-
1824:10; Technest’s Post-Hearing Brief at 23-24. And EOlR’s President agreed See
Joseph l\/lackin Deposition (excerpts attached hereto as Exhibit H) at 261 :13-20. That the
Panel credited the testimony of these two knowledgeable fact witnesses (as opposed to a
paid expert with no firsthand knowledge) is not error and was within the Panel’s
province.

Petitioner disagrees with the Panel’s interpretation but that is not enough to
require vacatur of the Award lndeed, even if the Court finds it might have interpreted
the Agreement a different way, it should not vacate the Award merely because it
disagrees with the Panel’s construction of the contract. See, e.g., Unz'ted Steelworkers of
Am. v. Enrerprz'se Wheel & Cal' Corp., 363 U.S. 593, 599 (1960) (“...[C]ourts have no
business overruling [the arbitrator] because their interpretation of the contract is different
from his.”); U.S. Postal Serv. v. Am. Posral Workers Union, 553 F.3d 686, 693 (D.C. Cir.
2009) (“Although the Postal Service may have an arguable ground to disagree with the
arbitrator’s decision, this is no basis for a court order vacating the [award].”). These

principles are fully applicable here.

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THE CORPORATE VALUATION WAS NOT A BASIS FOR THE
AWARD, BUT NONETHELESS WAS PROPERLY RECEIVED INTO
EV]])ENCE

The admission of an allegedly privileged valuation does not provide grounds for
vacatur of the Award Because the valuation ultimately did not bear on the Panel’s
Award, its admission does not require vacatur. Further, even if the Panel improperly
admitted a privileged document or failed to articulate a basis for its decision, such
admission does not amount to “manifest disregard of the law.”

As a procedural matter, manifest disregard of the law is almost certainly no longer
a viable basis for vacating an arbitration award The doctrine was called into question by
the Supreme Court’s recent decision in Hall Slreez‘ Associates, L.L. C. v. Mattel, Inc. , 128
S.Ct. 1396 (2008), an unquestionably important decision that is conspicuously absent
from Holdings’ Petition. ln the wake of the Hall Streez‘ decision, numerous courts have
held that manifest disregard is no longer a valid basis for‘challenging arbitration
awards 19 Petitioner’s entire argument that there was a “manifest disregard of the law”
should be rejected on this ground alone. y

To the extent this Court finds that manifest disregard of the law is still a basis for
review of an arbitration award, the standard of review is “extremely narrow” and requires
“much more than failure [of the arbitrators] to apply the correct law.” Kurke v. Oscar
Gruss & Son, Inc., 454 F. 3d 350, 354 (D.C. Cir. 2006) (quoting Kanuth v. Prescott, Ball ~
& Turban, [nc., 949 F.2d 1175, 1182 (D.C. Cir. 1991). For an award to be vacated as in

manifest disregard of the law, the party challenging the award must demonstrate that “(1)

 

19 See e.g., Robel't Lewis Rosen Assoc. Ltd. v. Webb, 566 F. Supp. 2d 228, 233 (S.D.N,Y, 2008) (finding
that, in light ofHall Sn~eet, manifest disregard of the law is no longer a valid basis for overturning or
modifying arbitral awards under the FAA); ALS & Assoc., lnc. v. AGMMarz`ne Constructors, lnc., 557 F.
Supp. 2d 180, 185 (D. Mass. 2008) (same); Prime Therapeutics LLC v. Omm`cal'e, Inc,, 555 F. Supp. 2d
993, 999 (D. Minn. 2008) (same); Mz`llmaker v. Bruso, No.07~3837, 2008 U.S. Dist. LEXIS 79480 (S.D.
Tex. Oct. 9, 2008) (noting that Hall Street put the viability of manifest disregard of the law in doubt). The
Supreme Court further undermined the viability of the doctrine in lmpl~ov W. Assocs. v. Comedy Club, Inc.,
where it vacated a Ninth Circuit decision vacating an arbitration award because of manifest disregard of the
law. 129 S. Ct. 45 (2008). The Supreme Court remanded the case for reconsideration in light of Hall
Street.

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the arbitrators knew of a governing legal principle yet refused to apply it or ignored it
altogether, and (2) the law ignored by the arbitrators was well defined, explicit, and
clearly applicable to the case.”~ Kurke, 454 F.3d at 354 (quoting LaPraa'e v. Kz'dder
Peabody 1& Co., Inc., 246 F.3d 702, 706 (D.C. Cir. 2001)) (internal quotations omitted).
Petitioner does not meet this standard because Petitioner cannot show that the Panel
ignored or refused to apply applicable law.20

The decision to admit the valuation cannot be grounds for vacating the award
because the Panel did not even rely on the valuation. ln its twelve~page reasoned award,
the arbitrators dispensed with the valuation in one sentence21 Petitioner consistently
argued that the valuation was irrelevant and ultimately the arbitrators agreed, leaving
Petitioner with no grounds for relief. See Tr. 1932:16~18; Holdings’ Post~Hearing 13rief22
at 37, 38 (arguing the valuation had “absolutely no relevance to a determination of
whether the three conditions to payment of the Contingent Purchase Price have been
met”). The arbitrators acted within their discretion by considering the valuation and
determining it was irrelevant See Howara’ Um'v., 519 F. Supp. 2d at 37; Lessl'n, 2006
U.S. Dist. LEXIS 14967, at * 20-21. As the valuation was not a basis for the Award, its

admission - rightly or wrongly ~ cannot be a basis to vacate the Award

 

20 instead or demonstrating how the arbitrators ignored well denned, explicit clearly applicable law,
Petitioner cites decisions with detailed analysis of complex privilege claims applicable to hundreds of
documents and complains that the Panel did not make similarly specific findings Unsurprisingly, faced
With an uncomplicated and unmeritorious privilege claim applicable to only one document, the Panel did
not provide the same detailed findings as those in the decisions cited by Petitioner; nor was it required to do
so. Howard Um`v. v. Metro. Campus Police Officer’s Union, 519 F. Supp. 2d 27, 38 (D.D.C. 2007)
(arbitration panels are not required to explain the basis of their awards) (citations omitted), a#’d, 512 F.3d
716 (D.C. Cir. 2008); Lessz`n v. Merl'z`ll Lynch, Pierce, Fenner & Sml'th, Inc., No. 5~171 (RMC), 2006 U.S.
Dist. LEXIS 14967 (D.D.C. Mar. 31, 2006) (lack of explanation for the award is not a ground for vacatur).

21 “While interesting, such valuations have no bearing on the conditions described above, all of which had
to be determined without regard to actual performance of EOIR following the STES award.” Award at 11.

22 Holdings’ Post~Hearirlg Brief is attached to its Petition as Exhibit 2.

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The Panel was presented with, considered and rejected Petitioner’s privilege
claim twice, first during the discovery process During the arbitration hearing, Petitioner
was again given an unbridled opportunity to present argument on its claim of privilege
and did so.23 After hearing argument and convening a special recess to consider
Petitioner’s privilege claim, the Panel rejected Petitioner’s claim of privilege and
admitted the valuation. Petitioner’s repeated arguments that there were no “f`lndings” on
the privilege issue is wrong and flatly belied by the hearing transcript As the Panel

Chair clearly noted on the record:

During the break, the panel has conferred about the proffer by [Technest
Holdings] of the [valuation] marked for identification as Exhibit 327. The
panel has decided to - having considered the arguments of the parties
concerning the claim of privilege, the panel has decided to admit the
document And in so doing, however, we make no comment whatever
concerning the weight which may be attributed to the document

Tr. at 750:17-751:3. There is absolutely nothing wrong with this procedure, which falls
well within the fair and reasonable administration of justice Furthermore, Petitioner
agreed to arbitration pursuant to AAA Rules; there is no AAA rule requiring “findings”
on privilege issues24 lndeed, it is well-settled that arbitrators have broad discretion to
determine the admissibility and relevancy of evidence Howard Unz'v. , 519 F. Supp. 2d at
37; Lessin, 2006 U.S. Dist. LEXIS 14967, at *20-21. Therefore, the Panel’s evidentiary
ruling on the admissibility of the valuation is not a valid basis for vacating the award lot
Second, Petitioner’s entire argument rests on the flawed assumption that the

corporate valuation was somehow privileged However, the valuation was not privileged

 

23 During the hearing, Technest submitted a nine-page memorandum demonstrating that the corporate
valuation was not privileged by reference to the applicable facts and law. The memorandum is
incorporated herein by reference and attached hereto as Exhibit l. Petitioner submitted no contrary or
opposing memorandum

24 Arbitrators are not required to explain their resolution of every question of law and, if any grounds for a
decision can be inferred, then the award must be continued See Howard Unz`v., 519 F. Supp. 2d at 38;
Lessin, 2006 U.S. Dist. LEXIS 14967, at *18; see also Merrl'll Lynch, Pierce, Fenner & Sml`th v. Jaros, 70
F.3d 418, 421 (6th Cir. 1995); Raz'ford v. Merl'l'll Lynch, Pierce, Fenner & Smith, Inc., 903 F.2d 1410, 1413
(11th Cir. 1990).

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by any stretch of the imagination lf anything, the record supports the notion that
Petitioner attempted to conceal the valuation by appending to it a bogus claim of
privilege resting on the thinnest of reeds The arbitrators were more than kind not to
sanction Petitioner for its actions

The facts relating to the preparation and purpose of the valuation show beyond
doubt that it was not “privileged.” Petitioner’s non-lawyer manager directed its non-
lawyer valuation consultant Taylor Consulting Group, lnc. to prepare the valuation for
EOlR’s annual goodwill impairment test in compliance with accounting standards
promulgated by the Financial Accounting Standards Board (“FASB”).25 Conspicuously
absent from the valuation itself and the affidavit supporting the privilege claim was any
indication that the valuation was prepared in anticipation of actual or anticipated
litigation or that an attorney had prepared or had any input into the valuation The
valuation contains no legal advice whatsoever. No attorney-provided content was ever
identified, despite numerous opportunities to provide same.

Even more remarkably, it is undisputed that the corporate valuation was used for
ordinary business purposes Two of Petitioner’s own witnesses testified that the
valuation formed the basis for their incentive-based compensation plan. See Tr. at
858:16-859:19; Joseph Mackin Deposition at 53:12-18. Petitioner’s argument that a
corporate valuation somehow became privileged because it was transmitted by an
attorney is wholly unavailing Merely labeling a document “privileged” does not make it

privileged See Gold Standara', Inc, v. Am. ~Barrz`ck Res. Corp., 801 P.2d 909, 911 (Utah

 

25 Statement of Financial Accounting Standards No. 142, Goodwill and Other Intangible Assets (“SFAS
142”). According to the Financial Accounting Standards Board, its Statement Number 142 “addresses
financial accounting and reporting for acquired goodwill and other intangible assets . . [and] . . .how
intangible assets that are acquired individually or with a group of other assets (but not those acquired iii a
business combination) should be accounted for in financial statements upon their acquisition.” lt also
“addresses how goodwill and other intangible assets should be accounted for after they have been initially

recognized in the financial statements.” Available at http://www.fasb.org[summary/stsuml42.shtlnl (last
visited September 17, 2009).

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1990); see also Unitea' States v. Tel. & Data Sys., Inc., No. 02-C-0030-C, 2002 U.S. Dist.
LEXlS 15510, at *5-6 (W.D. Wis luly 16, 2002) (“Simply transmitting information to an
attorney does not cloak it in the privilege”).

lt is clear on the face of the valuation and supporting affidavit that the valuation
was prepared for and used for business purposes unconnected to any specific threat of
litigation lt is well-settled that the attorney work-product privilege only applies to
documents prepared in the reasonable anticipation of litigation, not the mere possibility
of litigation See In re Sealed Case, 146 F.3d 881, 884 (D.C. Cir. 1998); Coastal States
Gas Corp. v. Dept. of Energy, 617 F.2d 854, 864-65 (D.C. Cir. 1980). Here, there is no
attorney-client communication reflected in the valuation See Relianz‘ Energy Power
Generatz'on, lnc. v. Fed. Energy Regulatory Comm., 520 F. Supp. 2d 194, 206 (D.DlC.
2007) (attorney-client privilege requires a request for or the provision of legal advice in
the context of an attorney-client relationship). The valuation contains neither attorney-
client communication nor attorney work-product entitled to privilege protection, thus the
Panel’s decision to admit the valuation was not in manifest disregard of the law.

Whatever complaints Petitioner may have about the valuation are largely its own
doing. Petitioner repeatedly tried to claim that the value of the subsidiary it had
purchased had declined dramatically because of diminished future prospects See, e.g.,
Tr. at 824:18-825:21; 1453:20-1454:15. The corporate valuation, which valued the
subsidiary at the same $34 million Petitioner agreed to pay, was directly responsive to
Petitioner’s value argument As it turned out, however, the actual value of the company
after the government contract was notdeemed relevant and the Panel found it
unnecessary to address the valuation issue. This was hardly a “manifest disregard of the
law,” rather it was a thoughtful application of it.

Accordingly, the Panel’s decision to admit the valuation was not manifest
disregard of the law and the Court should deny Petitioner BOIR Holdings LLC’s Petition

to Vacate the Arbitration Award.

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CONCLUSION
For all the reasons stated above, Technest respectfully requests that this Court

deny Petitioner EOlR Holdings LLC’s Petition to Vacate Arbitration Award.

Respectf`ully submitted,

/s/ Carmine R. Zarlenga

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CERT]FICATE OF SERVICE

l certify that on September 21, 2009, l served the foregoing Respondent Technest
Holdings, lnc.’s l\/lemorandum Of Points And Authorities ln Opposition To EOlR
Holdings LLC’s Petition To Vacate Arbitration Award electronically with the Clerk of
Court using the CM/ECF system, which will then send a notification of such filing (NEF)

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